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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

Vv. Cr. No. 18-10450-MLW
ERICK LOPEZ FLORES,
HENRI SALVADOR GUTIERREZ,
ELISEO VAQUERANO CANAS,
JONATHAN TERCERO YANES,
MARLOS REYES, and
DJAVIER DUGGINS,
Defendants.

ORDER
WOLF, D.J. January 26, 2021

As discussed at the January 26, 2021 hearing, it is hereby
ORDERED that:

1. The parties shall, by February 5, 2021, file memoranda
addressing whether Salvador Gutierrez's statements to CW-13 are
admissible pursuant to Fed. R. Evid. 804 (b) (3).

2. Any replies shall be filed by February 10, 2021.

3. A hearing by videoconference, which will not include
testimony, concerning defendant Dijavier Duggins's motion to
exclude statements by codefendants to government informants (Dkt.
No. 334), addressing the admissibility of those statements under
Fed. R. Evid. 804(b)(3) and/or Fed. R. Evid. 801(d)(2)(E), shall
begin on February 17, 2021 at 10:00 a.m. and continue from day to
day until concluded. All defendants who have not pled guilty shall

attend.
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4. The parties shall order the transcript of the January

26, 2021 hearing on an expedited basis.

 
   
 

   

UNITED STATES DISTRICT JUD
